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3                               UNITED STATES DISTRICT COURT

4                                      DISTRICT OF NEVADA

5                                                  ***

6      AIRELL JOSHUA THOMAS SAWYER,                      Case No. 3:16-cv-00627-MMD-WGC

7                                   Petitioner,                       ORDER
               v.
8
       WARDEN BAKER, et al.,
9
                                Respondents.
10

11            Petitioner Airell Sawyer has filed an unopposed motion for an extension of time to

12    complete discovery. (ECF No. 70.) This is Petitioner’s sixth request. The Court finds good

13    cause to grant the motion.

14            It is therefore ordered that Petitioner's unopposed motion for extension of time to

15    complete discovery (ECF No. 70) is granted. Discovery must be completed by April 12,

16    2021.

17            DATED THIS 11th Day of January 2021.

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                                                  MIRANDA M. DU
20                                                CHIEF UNITED STATES DISTRICT JUDGE

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